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IN THE UNITED STATES DISTRICT COURT-: S -.,

FOR THE DISTRICT OF MARYLAND == = SOO

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FRANKLIN SAVAGE et al., | im oot

Plaintiffs, x ee

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v. * Civil Action No. JFM-16200201
POCOMOKE CITY, et al, *
Defendants. *

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STATE OF MARYLAND’S MOTION FOR RECONSIDERATION
, AS TO COUNT IX

Defendant State of Maryland, by its attorneys, Brian E. Frosh, Attorney General of
Maryland, Ronald M. Levitan and Mira Feldstein, Assistant Attorneys General, moves
pursuant to Rule 54(b) of the Federal Rules of Civil Procedure and Local Rule 105 for this
Court to Reconsider its March 17, 2017 Order denying the State of Maryland’s Motion to
Dismiss or for Summary Judgment regarding Count IX.

INTRODUCTION
On August 19, 2016, this Court granted State’s Attorney Beau Oglesby’s Motion to
Dismiss or in the Alternative, Motion for Summary Judgment as to Plaintiff Franklin
Savage’s First Amended Complaint. This Court determined that “The claims raised by
plaintiff are barred by the doctrine of absolute immunity.” (Doc. 72, p. 1 of 2). However,
when Plaintiff sought to reach State’s Attorney Oglesby’s identical actions in his Second
Amended Complaint by way of Title VII, the Court denied the State of Maryland’s Motion

to Dismiss or for Summary Judgment without explanation. This result conflicts with the

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